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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



 SIA HENRY, MICHAEL MAERLANDER,
 BRANDON PIYEVSKY, KARA SAFFRIN, and
 BRITTANY TATIANA WEAVER, individually and on
 behalf of all others similarly situated,
                                                           Case No.: 22-cv-00125
                             Plaintiffs,

                              v.                           Hon. Matthew F. Kennelly

 BROWN UNIVERSITY, CALIFORNIA INSTITUTE
 OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
 THE TRUSTEES OF COLUMBIA UNIVERSITY IN
 THE CITY OF NEW YORK, CORNELL
 UNIVERSITY, TRUSTEES OF DARTMOUTH
 COLLEGE, DUKE UNIVERSITY, EMORY
 UNIVERSITY, GEORGETOWN UNIVERSITY,
 MASSACHUSETTS INSTITUTE OF TECHNOLOGY,
 NORTHWESTERN UNIVERSITY, UNIVERSITY OF
 NOTRE DAME DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                              Defendants.


                                   JOINT STATUS REPORT

       The parties submit the following joint status report pursuant to the Court’s Order dated

January 10, 2022:
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        (1)     The status of service of process upon each defendant

        All defendant Universities have been served and appeared in this case.1 All of the service

packets included a copy of the Court’s Order dated January 10, 2022, setting a case management

conference for February 22, 2022.

        (2)     A description of each party’s claims and defenses

        Students’ and Families’ Statement. This is a proposed class action for Defendants’

alleged violations of the federal antitrust laws. Defendants are current and former members of an

organization that calls itself the “568 Presidents Group” (also known as the 568 Cartel). This

group, according to its website, has met continuously since approximately 1998 to agree on and

fix a common formula (the “Consensus Methodology”) for determining an undergraduate student’s

expected family contribution towards tuition and related costs and expenses, which is the primary

determinant of the net price of attendance charged to that student. Most Defendants adopted the

Consensus Methodology in 2003 or 2004. According to the website of the 568 Cartel, the

“purposes” of the Cartel include to “discuss and agree upon common principles of analysis for

determining a financial need of undergraduate financial aid applicants….” (italics added).

        Defendants have engaged in this alleged conspiracy in reliance on a statutory exemption

from the antitrust laws for conspiracies among “2 or more institutions of higher education at which

all students admitted are admitted on a need-blind basis.” 15 U.S.C § 1, Note. The term “need

blind basis” is defined to mean “without regard to the financial circumstances of the student

involved or the student’s family.” Id. Plaintiffs currently allege that at least seven Defendants have



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  Defendants state that at least some of the service packets failed to include a summons, in violation of
Federal Rule of Civil Procedure 4(c), and that defect in service has been brought to Plaintiffs’ attention.
Plaintiffs state that the affidavits of service that Plaintiffs have received all say that each Defendant was
served with the complaint and summons. If those affidavits are inaccurate, Plaintiffs will complete service
within the time allotted under the Federal Rules of Civil Procedure.

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systematically failed to admit all successful applicants “without regard the financial circumstances

of the student involved or the student’s family,” including because they have considered the

financial needs of students in deciding whom to admit from the waitlist and have given preferences

to students from families with significant financial capacity as part of enrollment management.

These allegations mean that, within the conspiracy among all defendants, not “all students” are

admitted on a “need-blind” basis, rendering the exemption inapplicable.

       Plaintiffs are current and former students, and parents, legal guardians, and family

members of students, who attended the Defendant institutions since approximately 2004 and,

because of the conspiracy, have paid artificially high net prices of attendance. Plaintiffs seek an

injunction and monetary damages.

       Universities’ Statement. Defendants are sixteen non-profit universities that make up a

subset of current and former members of the 568 Presidents Group. As Congress intended, this

group—whose membership, mission, and methodology have been publicly known for nearly two

decades—has worked to develop a transparent, flexible process for assessing families’ ability to

contribute to the costs of an education. This voluntary process is intended to be a complementary

option to other financial aid methodologies that exist for the same purpose, including the “federal”

methodology developed by Congress (i.e., Free Application for Federal Student Aid), and the

“institutional” methodology developed by College Board (i.e., the CSS Profile). Each member

individually determines whether and to what extent to use the process, and whether to use it alone

or in conjunction with these other methodologies, to help remove financial need as a barrier to

attending college.    The group does not require adherence to any particular financial aid

methodology, does not set tuition at any school, does not discuss or determine the amount of the




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financial aid package that any student is offered, and does not determine whether any student’s

financial need will be met through grants, loans, or a combination thereof.

        Plaintiffs’ challenge is meritless and time-barred, as the Universities will show in their

forthcoming motion to dismiss.2 Among other grounds, the Universities intend to argue that (1) the

use of “common principles of analysis for determining the need of students for that aid” is

exempted from the antitrust laws under Section 568 of the Improving America’s Schools Act of

1994, 15 U.S.C. § 1 note, and Plaintiffs have not plausibly alleged that the exemption does not

apply; (2) Plaintiffs have not plausibly alleged a violation of the antitrust laws under a per se

theory, see, e.g., United States v. Brown Univ. in Providence in State of R.I., 5 F.3d 658, 670-79

(3d Cir. 1993); Massachusetts Sch. of Law at Andover, Inc. v. ABA, 853 F. Supp. 837, amended,

857 F. Supp. 455 (E.D. Pa. 1994); (3) Plaintiffs have not plausibly stated a claim under the rule of

reason because (among other things) their proposed relevant market for “Elite, Private

Universities”—purportedly based on an arbitrary cutoff of schools with an average ranking of 25

or higher by the U.S. News and World Report from 2003 through 2021—is contrived solely for

this litigation, contrary to common knowledge, and economically implausible; and (4) Plaintiffs’

claim—which is based on public sources dating back many years—is barred by the four-year

statute of limitations, see 15 U.S.C. § 15b.

        Moreover, if the complaint is not dismissed at the pleading stage, the Universities intend

to show that the putative class would fail to meet the standards for class certification under Federal



2
  Plaintiffs’ amended complaint is due today; the Universities’ position is based on the allegations in the
original complaint, and additional issues may arise based on Plaintiffs’ amendments. The Universities are
coordinating their responses to the complaint but reserve their rights to file multiple briefs in support of
their motion to dismiss, consistent with the Court’s rules and individual practices setting page limits, in
light of potentially material differences among the Universities identified in the complaint (e.g., ¶¶ 6-7,
200). The Universities will of course endeavor to minimize the number of briefs filed and the burden on
the Court.

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Rule of Civil Procedure 23(a) or (b)(3), given the pervasiveness of individualized issues (among

other reasons). Finally, any evidence uncovered during discovery would not support liability in

any event.

       (3)     Details regarding any discussions concerning settlement, whether before or
               after the filing of the lawsuit

       Students’ and Families’ Position: Plaintiffs have proposed to Defendants that,

considering the national significance of this case and the enormous potential financial and

reputational stakes for Defendants, the early and ongoing involvement of a preeminent mediator,

of national stature, would potentially benefit all parties. Any such involvement would proceed in

parallel with the litigation of the case. Defendants have declined at this time to consider any such

process, or otherwise to discuss settlement. Cf. Instructions for Settlement Conference for Cases

Assigned to U.S. District Judge Matthew F. Kennelly, at 1 (N.D. Ill. Aug. 19, 1999).

       Universities’ Position: The Universities believe that Plaintiffs’ allegations and theories

are implausible and meritless, and do not believe that mediation or settlement discussions would

be productive at this time.

       (4)     A proposed discovery and pretrial schedule

       Plaintiffs’ proposed schedule is attached as Appendix 1. Defendants’ proposed schedule is

attached as Appendix 2. Each of these schedule proposals is discussed below

       Students’ and Families’ Position

               A.      Students’ and Families’ Statement Regarding Their Proposed
                       Schedule

       Plaintiffs’ proposed schedule is based on best practices and modern class certification

jurisprudence as implemented successfully in dozens of recent antitrust class actions. It will

provide for orderly, fair, and efficient litigation of this important case consistent with Fed. R. Civ.



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P. 1. Defendants’ proposal would impose two lengthy proposed stays (pending the briefing on the

motion dismiss and a separate stay pending a decision on class certification); provide for a short

and wholly inadequate fact discovery period for a case of this magnitude; include two rounds of

expensive and redundant expert reports; and would absurdly allow Defendants to depose each

Plaintiffs’ expert four times. By contrast, Plaintiffs’ schedule provides sufficient time for fact

discovery on behalf of hundreds of thousands of students against sixteen sophisticated defendants

regarding conduct going back decades, while getting this case to trial in all likelihood two or more

years before Defendants’ proposal.

       Based on multiple recent cases litigated by the undersigned: Plaintiffs’ proposed schedule

proposes a single fact discovery period for all issues relating to class certification and merits;

followed by a single expert discovery period for all issues (including class and merits); followed

by briefing on class certification and a single round of Daubert motions; followed by a hearing on

class certification; and then briefing on summary judgment and trial. Plaintiffs’ counsel have

successfully litigated multiple prior complex antitrust cases with schedules similar to what

Plaintiffs propose here, often with the agreement of the defendants. See Exhibits 1-7 (several courts

adopting analogous processes and schedule for litigating antitrust class actions).3




3
  See, e.g., Ex. 1, Case Mgmt. Order, In Re: Geisinger Health and Evangelical Community Hosp.
Healthcare Workers Antitrust Litig., No. 4:21-cv-00196-MWB (M.D. Pa. Feb. 7, 2022); Ex. 2, Case
Management Order No. 1, In re: Broiler Chicken Grower Antitrust Litig., No. 6:17-cv-00033-RJS-SPS
(E.D. Okla. Apr. 13, 2020) (“Broilers I”), ECF No. 312; Ex. 3, Stipulated Order Regarding Amended Case
Schedule As Modified, Simon and Simon, PC, et al. v. Align Tech., Inc., No. 3:20-cv-03754-VC (N.D. Cal.)
(“Align”); Ex. 4, Further Amended Scheduling Order, In re Lipitor Antitrust Litig., No. 3:12-cv-02389-
PGS-DEA (D.N.J. Oct. 1, 2019), ECF No. 899; Ex. 5, Corrected Seventh Amended Scheduling Order, In
re: Niaspan Antitrust Litig., No. 13-MD-2460 (E.D. Pa. Nov. 16, 2018), ECF No. 570; Ex. 6, Scheduling
Order at 1, In re Dental Supplies Antitrust Litig., No. 16-cv-696 (BMC)(GRB) (E.D.N.Y. April 10, 2017),
ECF No. 177; Ex. 7, Discovery Plan and Scheduling Order at 1, Le v. Zuffa, LLC, No. 2-15-cv-01045-RFB-
(PAL) (D. Nev. Oct. 14, 2016), ECF No. 311.

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       Defendants’ proposed schedule, by comparison, is antiquated (given the current standards

for class certification), plainly inefficient, wholly inadequate for the parties’ fact discovery needs

in this complex and important case, and unnecessarily burdensome and expensive. The root cause

of this inefficiency is that Defendants’ proposed schedule calls for two almost entirely redundant

and separate rounds of expert reports and depositions—back-to-back—one for reports pertaining

to class certification, and then another pertaining to the merits of the case. As discussed below,

under modern class certification law and practice, the parties’ class certification expert reports and

merits expert reports will cover the same issues with the same specificity. They should be done

once not twice.

       Even worse, under Defendants’ proposed schedule, the parties would engage in seven

months of briefing and expert discovery solely devoted to Plaintiffs’ motion for class certification.

And instead of running class and Daubert briefing simultaneously (as Plaintiffs propose),

Defendants’ schedule allots five months for class certification briefing, to be immediately followed

by six weeks of Daubert briefing relating to class certification. Further, although Defendants did

not provide a schedule post-class certification, Defendants will inevitably propose a similarly

drawn-out schedule for merits experts, Daubert briefing relating to merits expert reports, and

summary judgment. On top of this inefficiency, for each round of redundant expert reports,

Defendants would provide for two depositions of Plaintiffs’ experts. If Defendants’ schedule were

fully implemented, then, there would two rounds of entirely redundant expert reports, four

depositions for each Plaintiffs’ expert, and two rounds of redundant Daubert briefing.

       And, of course, as part of Defendants’ multi-month redundant and inefficient process,

Defendants propose an indefinite but likely year-long stay following until the Court can hold a

hearing on and then decide class certification. While it may benefit Defendants to impose an Alice-



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in-Wonderland process on their own students, whereby Plaintiff students are required to put

forward multiple briefs and expert reports on the same topics, and have their experts sit for four

depositions on the same subjects, and be forced to spend millions of dollars on redundant and

unnecessary procedures again and again, never getting to trial, Defendants’ proposed schedule

would be flatly inconsistent with the Federal Rules, notions of justice, and common sense.

Defendants’ proposal is even more egregious given that during the many years that Defendants

would have Plaintiffs run the gauntlet to get to trial, Defendants can continue their cartel whose

purpose is to overcharge and injure their own students.

       Defendants attempt to hide the inefficiency of this proposed schedule by sandwiching an

unduly short fact discovery period of 12 months between their two stays. There is no doubt that

the negotiation of custodians, search methodologies, and issues relating to the scope of discovery

will take many months by themselves before a single document is produced. Assuming that

Defendants will have, collectively, many thousands of documents to produce, as well as reams of

data, that will take at least a few months for Defendants to accomplish. And of course, before

Plaintiffs can take any depositions in a case involving sixteen defendants and evidence from

multiple third parties, Plaintiffs need to review and digest the productions and prepare for the

depositions. Defendants, however, barely provide sufficient time for document production, let

alone a full course of necessary discovery.

       Under Plaintiffs’ proposal, after the single period for fact discovery, there would be one

period for expert discovery, where the parties would serve all expert reports for which they have

the burden of proof (including class and merits issues), followed by opposition reports, and then

rebuttal expert reports. Then all of the experts would be subject to a single deposition each (rather

than the four expert depositions Defendants propose to take of each plaintiff expert). Thus, all



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experts would work from the same, closed factual record in submitting their reports for all issues

relevant to the case.

        After the close of expert discovery, the parties would then brief Plaintiffs’ class

certification motion and any Daubert motions related thereto.4 In this way, the parties’ class and

Daubert briefing would be fully informed by the same fact and expert record. That briefing would

be closed by April 10, 2025. The Court would subsequently have a class certification hearing at

its convenience. Plaintiffs propose that summary judgment motions would then be filed by May 5,

2025.

        Many courts in complex antitrust cases have found the structure of Plaintiffs’ proposed

schedule to be superior. See, e.g., Case Management Order No. 1, In re: Broiler Chicken Grower

Antitrust Litig., No. 6:17-cv-00033-RJS-SPS (E.D. Okla. Apr. 13, 2020), ECF No. 312; Stipulated

Order Regarding Amended Case Schedule As Modified, Simon and Simon, PC, et al. v. Align

Tech., Inc., No. 3:20-cv-03754-VC (N.D. Cal); Further Amended Scheduling Order, In re Lipitor

Antitrust Litig., No. 3:12-02389-PGS-DEA (D.N.J. Oct. 1, 2019).

        Defendants’ alternative is wasteful and unnecessary because, under current jurisprudence,

“class” reports and “merits” reports are necessarily similar and almost entirely overlapping. At

class certification, Plaintiffs have the burden of showing that their case can be proved with

predominantly classwide evidence. See, e.g., Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036,


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  As suggested in Plaintiffs’ schedule, class certification replies should come after the Daubert reply given
that Plaintiffs’ class certification motion and Daubert motions are likely to be relevant to class certification.
See Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1049 (2016) (“Once a district court finds evidence
to be admissible, its persuasiveness is, in general, a matter for a jury. Reasonable minds may differ as to
whether the average time actually time…calculated is probative of as to the time actually worked by each
employee. Resolving that question, however, is the near-exclusive province of the jury. The District Court
could have denied class certification on this ground only if it concluded that no reasonable juror could have
believed [the expert findings].”).



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1047-49 (2016); Amgen Inc. v. Conn. Retirement Plans & Trust Funds, 568 U.S. 455, 459-60, 467-

70 (2013); see also Comcast Corp. v. Behrend, 569 U.S. 27, 33-34 (2013) (internal quotation marks

and citations omitted) (class certification analysis in antitrust cases will “frequently entail overlap

with the merits of the plaintiff’s underlying claim,” because the “class determination generally

involves considerations that are enmeshed in the factual and legal issues comprising the plaintiff’s

cause of action”). In short, under Fed. R. Civ. P. 23(b)(3), Plaintiffs must show that their case as a

whole or one or more of its constituent parts is capable of proof on a predominantly class-wide

basis. Tyson Foods, 136 S. Ct. at 1045 (“When one or more of the central issues in the action are

common to the class and can be said to predominate, the action may be considered proper under

Rule 23(b)(3).”) (quotation omitted).

       And the best way to show that Plaintiffs’ case is capable of class-wide proof is to lay out

workable methods of class-wide proof. That is what Plaintiffs’ experts will do in their class

certification reports, and that is also what Plaintiffs’ experts will do in their merits reports. Thus,

bifurcating expert reports into two separate rounds as Defendants propose would be needlessly

expensive, entirely redundant, and wholly inefficient.

       Defendants’ proposal is also unfair and inefficient because Plaintiffs’ motion for class

certification is due before the deadlines for Defendants’ class certification expert reports,

Plaintiffs’ rebuttal reports, and the deadlines to depose class certification experts, thereby creating

an expert record that is a moving target. In addition, under Plaintiffs’ proposal, expert discovery

would be closed on all issues before class certification or Daubert briefing takes place, ensuring

that both sides are working from the same expert record for their briefs.

       Finally, Defendants complain about the length of Plaintiffs’ schedule (which is much

shorter than Defendants’), but Defendants’ schedule is unrealistic and will certainly end up in a



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much, much more drawn-out schedule. Defendants propose only twelve months for fact discovery

in this complex antitrust litigation with sixteen sophisticated defendants, many third parties with

relevant information, likely hundreds of thousands of documents, and well over 100 depositions

to be taken. Compounding this problem is Defendants’ failure to offer interim deadlines for

substantial completion of document production. Even if all Defendants were able to produce the

hundreds of thousands of responsive documents within six months of the opening of fact discovery,

that would leave Plaintiffs only six months to review all such documents, address any discovery

issues or follow up (such as addressing privilege log issues), and then take dozens of depositions,

since it is unlikely that any party would be ready to commence depositions prior to the documents

being produced and digested. In Class Counsel’s substantial experience in similar complex cases,

additional time is needed to complete discovery.5

        Defendants’ schedule also imposes two stays—one following motion to dismiss briefing

and one following class certification. As discussed below, there is no cause to grant a stay here

pending resolution of the motion to dismiss. But that aside, it means that Defendants’ schedule is

entirely open-ended and likely to take far longer than the schedule Plaintiffs propose.




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  In a recent price-fixing case, for example, the district court permitted discovery to commence in August
of 2016, with a fact discovery deadline of October of 2019. See In re Resistors Antitrust Litig., No. 15-cv-
03820-JD (N.D. Cal.), ECF Nos. 190 (lifting DOJ stay on discovery), 510 (establishing case schedule). In
another recent, complex antitrust case, the court opened discovery in October 2020 and contemplates a fact-
discovery deadline of February 2022. See Fusion Elite All Stars et al. v. Varsity Brands, LLC, et al., No.
20-cv-02600-SHL (W.D. Tenn.), EFC No. 61. In Broilers I, the contemplated discovery period was a year.
Other courts are in accord. See, e.g., In re Capacitors Antitrust Litig., No. 14-cv-03264-JD (N.D. Cal.),
ECF Nos. 514 (permitting discovery to proceed in January of 2015), 1405 (establishing a fact discovery
cutoff of November 2017); In re Domestic Airline Travel Antitrust Litig., No. 15-mc-01404-CKK (D. D.C.),
ECF Nos. 152 (providing for over a year of discovery), 290 (later amending the scheduling order and
extending the fact discovery by over a further year); Precision Associates, Inc. et al. v. Panalpina World
Transport (Holding) Ltd., et al., No. 08-cv-00042-JG (E.D. N.Y.), ECF Nos. 977 (initially opening
discovery in December 2013 with a contemplated fact discovery deadline of January 16, 2015), 1130 (later
extending the fact discovery deadline to June 25, 2015), 1303 (later extending the fact discovery deadline
to September 23, 2015).

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        In particular, Defendants attempt to justify separate, and back-to-back, rounds of class and

merits expert reports by claiming that merits reports would include certain additional topics that

would not necessarily be included in class reports. This argument fails for three reasons.

        First, in asserting that merits issues are “broader” than class issues, Defendants implicitly

concede, as they must, that there will be overlap—and indeed likely substantial overlap—in the

expert work at both stages. As discussed in detail in this report, the best way to show that Plaintiffs’

case is capable of classwide proof is to actually put forward classwide proof on the merits of each

of the elements of Plaintiffs’ claims—and that is what Plaintiffs’ experts will do at the class

certification stage. Defendants would then be forced to respond. Thus, there will inevitably be very

substantial, if not complete, overlap in the expert reports in both the class certification and merits

stages. Indeed, even if Defendants do have broader expert opinions to assert on the merits, there is

no reason that they could not simply offer those opinions at the same time as the class certification

related points are asserted. That Defendants might want to hold back certain opinions until after

class certification is decided does not justify imposing enormous costs on the class or dragging out

the case schedule by over a year or more.

        Second, Defendants assert that under Plaintiffs’ proposed schedule, Defendants would be

forced to issue class certification expert reports “before [Defendants] know the scope of Plaintiffs’

proposed class or classes.” But this is plainly wrong. Under Plaintiffs’ schedule, Defendants will

know the proposed class definition because it will be included in Plaintiffs’ opening class

certification expert report, and then Defendants’ experts will respond on the class issues and

Plaintiffs’ experts will rebut. Under Plaintiffs’ proposed schedule, the class issues will

be more developed by the time of the class certification motion.




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       Third, separating class and merits reports allows Defendants to take inconsistent positions

at each stage. Defendants could hire an expert for class certification who will opine that it is

impossible to prove anything on a classwide basis. Then, after class certification is granted,

Defendants could hire a second expert who could suddenly be able to run all sorts of classwide

analyses to try to prove that there was no violation of the law and no harm to the class. If class and

merits issues are combined, any inconsistent positions would be obvious. Of course, the desire to

use different experts to take inconsistent positions does not justify burdening Plaintiffs, the class,

and the Court with substantial added expense and delay.

       In short, Plaintiffs’ proposed schedule is more efficient, less costly, and quicker, and

Plaintiffs’ respectfully request that the Court enter the schedule Plaintiffs propose.

               B.      Defendants Offer No Justification for a Stay of Discovery While the
                       Motion to Dismiss Is Pending

       Defendants repeatedly state that they intend to seek a stay of discovery pending a resolution

of their motion to dismiss. Such a stay is both inefficient and inappropriate.

       The mere filing of a motion to dismiss does not entitle a defendant to a stay of discovery.

See SK Hand Tool Corp. v. Dresser Indus., Inc., 852 F.2d 936, 945, n.11 (7th Cir. 1988). This

Court disfavors stays because they risk bringing resolution of the dispute to a standstill. See, e.g.,

New England Carpenters Health & Welfare Fund v. Abbott Labs., 2013 WL 690613, at *2 (N.D.

Ill. Feb. 20, 2013). The Court may impose a stay of discovery and overcome the presumption that

discovery begins immediately after consideration of the following factors: “(i) whether a stay will

unduly prejudice or tactically disadvantage the non-moving party, (ii) whether a stay will simplify

the issues in question and streamline the trial, and (iii) whether a stay will reduce the burden of

litigation on the parties and on the court.” Witz v. Great Lakes Educational Loan Servs., Inc., 2020




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WL 8254382, at *1 (N.D. Ill. July 30, 2020) (quoting Pfizer Inc. v. Apotex Inc., 640 F. Supp. 2d

1006, 1007 (N.D. Ill. 2009)).

         The burden of proof is on the party seeking the stay. See, e.g., Harper v. Cent. Wire, Inc.,

2020 WL 5230746, at *1 (N.D. Ill. Sept. 2, 2020). “[A] stay of discovery is generally appropriate

only when a party raises a potentially dispositive threshold issue such as a challenge to a plaintiff’s

standing or pending resolution of qualified immunity claims.” Abbott Labs., 2013 WL 690613, at

*2 (internal quotations and citations omitted). “[O]ne argument that is usually deemed insufficient

to support a stay of discovery is that a party intends to file, or has already filed, a motion to dismiss

for failure to state a claim under Rule 12(b)(6).” Id. (quoting Solomon Realty Co. v. Tim Donut

U.S. Ltd., 2009 WL 2485992, at *2 (S.D. Ohio Aug. 11, 2009)). This Court recognizes “the time

and expense associated with responding to discovery requests,” but “especially in nationwide class

action suits such as this one, a blanket stay of discovery is not an appropriate way to address those

concerns.” Witz v. Great Lakes Educ. Loan Servs., 2020 WL 8254382, at *2 (N.D. Ill. July 30,

2020).

         Defendants assert that they intend to file a motion to dismiss under Fed. R. Civ. P. 12(b)(6),

yet they have not mentioned any extraordinary threshold issue such as standing or qualified

immunity that would justify a stay of discovery. Instead, Defendants argue that discovery is

expensive and time consuming, but they give no specificity as to why such discovery would be so

extraordinary that this case should proceed differently than every other case in which discovery

costs money and takes time. Contrary to Defendants’ assertions, commencing discovery

immediately is most efficient overall for all parties and the Court. Moreover, the initial steps of

discovery, such as negotiation of custodians, search methodologies, and other issues relating to the

scope of discovery—tasks that inevitably occupy the parties for several months before a single



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document or any data is produced—will not impose significant burdens on Defendants’ operations.

Additionally, there are typically documents and data in antitrust class actions that are relatively

easy to locate produce—including organization charts, transactional data, and any documents

produced in related litigation or government investigations that have already been reviewed for

privilege and processed.

       The requested stay would also prejudice Plaintiffs and the Class. The alleged conduct is

ongoing, and Plaintiffs and members of the Class of students and their families have been

overcharged and continue to be overcharged as a result of a systematic denial of competitive

financial aid offers. Plaintiff students deserve just and speedy relief for these violations. Many of

the class members are just starting out in their adult lives balancing incredible debt burdens. The

proposal to stay this case for months or years will impose significant burdens on Plaintiff students

and the Class. Moreover, time is not on Plaintiffs’ side—witnesses become unavailable, for

example, and memories fade over time. Such a delay neither serves the Court nor the public interest

as the Court does not expend any resources on the initial phases of discovery and the public’s

primary interest in an efficient, timely, and just resolution of the case.

       Finally, Defendants attempt to justify the stay by offering merits arguments that are

implausible, and in any event, unlikely to succeed on a motion to dismiss. For example, Defendants

offer the dubious contention that discovery would be wasteful since their actions did not constitute

an “agreement” and therefore did not violate antitrust laws. Putting aside that the existence of an

agreement is a fact-based issue almost certain not to be resolved on a motion to dismiss, it is

contradicted by the official statements of the 568 Presidents Group. For example, the 568 Group’s

Memorandum of Understanding states that the purpose of the group is to “[d]iscuss and agree




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upon common principles of analysis for determining financial need of undergraduate financial aid

applications.”6

        Indeed, Defendants’ argument that the Court should dismiss this case, or at least stay

discovery for many months in the meantime, boils down to the nonsensical proposition that

Defendants never agreed to anything and thus never violated Section 1 of the Sherman Act, even

though, according to Defendants’ own website, they (1) lobbied Congress for an exemption from

Section 1 of the Sherman Act, (2) set up a group for the express purpose of coming to an agreement

on the methodology for awarding student aid, (3) stated their intention to use this jointly-agreed

methodology to reduce variance in aid among the Defendants, and (4) regularly met,

communicated, and coordinated as part of this joint effort. Defendants’ argument makes no sense

on the merits, but it certainly does not justify a long delay in the resolution of this important case.

Further, it is highly unlikely that Defendants would be able to show that they satisfy the 568

exemption given Plaintiffs’ allegations that each has violated the requirement imposed by Section

568 that requires them to admit students “without regard to the financial circumstances of the

student involved or the student’s family.” Compl. ¶¶ 125-65.

        In sum, Plaintiffs’ proposal is more sensible and efficient, fairer to both sides, better for

the Court, and less time-consuming and costly. Plaintiffs respectfully request that the Court adopt

Plaintiffs’ proposed schedule, including by allowing discovery to commence immediately

following the upcoming case management conference.




6
     The    568    Presidents’    Group       Memorandum    of   Understanding,        available    at
http://www.568group.org/home/sites/default/files/568_MOU_2016_Final.pdf (last visited Feb. 12, 2022).

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        Universities’ Proposed Discovery and Pretrial Schedule:

        The Universities propose an expeditious and reasonable schedule that avoids burdening the

Court and the parties with potentially needless discovery pending the forthcoming motion to

dismiss and fairly and logically sequences subsequent proceedings, if any, to promptly address the

numerous obstacles to class certification inherent in Plaintiffs’ claim and, if necessary, prepare this

case for trial. Plaintiffs’ proposed schedule, by contrast, seeks premature and boundless discovery

before they have established a cognizable and timely claim; an extended deadline for adding new

parties and claims (over a year from now); and the illogical simultaneous scheduling of class and

merits expert discovery, when among the very purposes of a prompt class determination is to

determine the scope of the matters that merits experts must address.

        Because the Universities’ anticipated motion to dismiss will address potentially dispositive

legal issues and could entirely dispose of or, at a minimum, substantially narrow this lawsuit, the

Universities will move in advance of the February 22 hearing for a stay of discovery pending a

resolution of their motion (while progressing the case in other ways, as discussed below).

Defendants respectfully submit that briefing on that motion—and not a joint status report—is the

better venue to bring those issues to the Court’s attention, and simply note here that, contrary to

Plaintiffs’ assertions above, courts in this District routinely stay discovery pending motions to

dismiss in antitrust cases given the unique burdens of discovery in these frequently multi-

defendant, multi-year cases.7 Those concerns are particularly acute here, where one reason the 568

exemption was enacted was “preventing needless litigation over the development of principles for

7
   See, e.g., Black Bear Sports Group, Inc. v. Amateur Hockey Assoc. of Ill., Inc., No. 18-8364, Dkt. 23
(N.D. Ill. Feb. 27, 2019) (Kennelly, J.); Moehrl v. The National Assoc. of Realtors, No. 19-1610, Dkt. 80
(N.D. Ill. May 29, 2019); Tichy v. Hyatt Hotels Corp., No. 18-1959, Dkt. 55 (N.D. Ill. May 7, 2018); Organ
Recovery Sys., Inc. v. Pres. Sols., Inc., 2012 WL 2577500, at *11 (N.D. Ill. July 4, 2012); DSM Desotech
Inc. v. 3D Sys. Corp., 2008 WL 4812440, at *3 (N.D. Ill. Oct. 28, 2008); In re Sulfuric Acid Antitrust Litig.,
231 F.R.D. 331, 336-37 (N.D. Ill. 2005).

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determining financial need.”8 During the pendency of a stay, Defendants would work with

Plaintiffs to negotiate an appropriate protective order, ESI protocols, and expert protocols so that

if the case moves forward, the parties are prepared to commence discovery on any claims that

remain.

        Plaintiffs also resist the Universities’ proposal to sequence class and experts merits

discovery, asserting that the scope of class expert discovery and merits expert discovery will be

“necessarily similar and almost entirely overlapping.” But there is no reason to believe that will

be the case. Whether or not there will be some overlap between class and merits, there are

numerous issues (such as market definition) that will be the subject of expert testimony but may

not be relevant to class certification.9 Plaintiffs’ proposed schedule would also require the parties

to complete class expert discovery before Plaintiffs even file their motion for class certification,

and therefore before the Universities know the scope of Plaintiffs’ proposed class or classes. The

Universities submit that the more logical approach, as reflected in their proposed schedule, would

be to have expert reports submitted simultaneously with class certification briefing, so it is clear

to both sides exactly what target they are aiming at.

        In the event that the Court is inclined to set a full case schedule now, the Universities’

proposed schedule is set forth below. The key features of the Universities’ proposed schedule are:

        •    Deadline for amending pleadings/adding parties 8 months after the commencement of
             discovery.
        •    Fact discovery period of 12 months—six months shorter than Plaintiffs’ proposal.


8
 Prepared Statement by Senator Chuck Grassley of Iowa Chairman, Senate Judiciary Committee Executive
Business Meeting, https://www.grassley.senate.gov/news/news-releases/grassley-statement-executive-
business-meeting-3, July 9, 2015.
9
  Plaintiffs’ suggestion that the Universities’ proposal is unreasonable because it provides for four
depositions of an expert is a red herring. If an expert submits a report on class certification, that expert will
be deposed once. If that same expert submits a separate report with new opinions during the merits phase,
the other side would appropriately be entitled to depose that expert on those new opinions.

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        •   Class certification briefing begins immediately following close of fact discovery,
            immediately followed by class expert Daubert briefing, which would be completed one
            month sooner than under Plaintiffs’ proposal.
        •   Deadlines for merits/trial expert discovery and further proceedings to be set following
            ruling on class certification.

        Students’ and Families’ Statement Regarding Discovery. Within their proposed

schedule, meant to account for the substantial fact discovery before the parties, Plaintiffs

respectfully propose an expansion on the limits for fact discovery set forth in the Federal Rules of

Civil Procedure. This is an antitrust class action against sixteen large institutions, alleging a long-

running conspiracy, involving hundreds of individuals, over a long period of time. Defendants are

each complex organizations in which the admissions office, the development office, the president’s

office, and the financial-aid office all interact on issues relevant to this litigation. In addition, the

personnel at each of those offices change with some regularity. This proposal seeks to account for

those realities, and reflects that the litigation will concern at least the following disputed factual

issues, regarding proposed Class Periods for as long as nineteen (19) years:


    •   Whether, to what extent, and over what period of time Defendants, or any of them, have
        engaged in need-aware admissions with respect to waitlisted students.

    •   Whether, to what extent, and over what period of time Defendants, or any of them, have
        engaged in need-aware admissions with respect to transfer students.

    •   Whether, to what extent, and over what period of time Defendants, or any of them, have
        engaged in need-aware admissions through any practice of enrollment management.

    •   Whether, to what extent, and over what period of time Defendants, or any of them, have
        engaged in need-aware admissions outside of any practice of enrollment management or
        for applicants other that waitlisted or transfer students.

    •   Whether, to what extent, over what period of time, and on what bases large donors to
        Defendants understood that their donation history would bear on admissions decisions with
        respect to their children.

    •   Whether, to what extent, and over what period of time members of the alleged conspiracy
        agreed to a common formula for determining financial need of admitted students and their
        families (the “Consensus Methodology”), and the nature of that formula.

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   •   Whether, to what extent, and over what period of time each Defendant has employed the
       Consensus Methodology, within the 568 Cartel, during the relevant Class Periods, as a
       basis for awarding financial aid.

   •   Should neither the per se rule nor the quick look mode of analysis apply, whether and to
       what extent there is a relevant market in which defendants collectively had market power.

   •   Whether, to what extent, and over what period of time Defendants’ employment of the
       Common Methodology has caused anticompetitive effects, including artificially inflated
       net prices of attendance for members of the proposed Class at Defendants’ universities.

   •   Whether, to what extent, and over what period of time Defendants’ employment of the
       Common Methodology has cased widespread antitrust injury or impact to members of the
       proposed Class.

   •   Whether there exists a reliable method for establishing damages to the proposed Class as a
       whole or to individual members of the Class.

   •   Should the per se rule not apply, whether, to what extent, and over what period of time the
       challenged conspiracy has enabled or realized any potentially valid procompetitive
       purposes or ends.

   •   Should the per se rule not apply, whether, to what extent, and over what period of time
       Defendants, through less intrusive means, could have enabled or realized any potentially
       valid procompetitive ends.

       Considering this breadth of disputed factual issues, Plaintiffs further and respectfully

propose that the following deposition discovery is warranted:

       •   A Rule 30(b)(6) deposition of each Defendant, including, inter alia, with respect to the
           Defendant’s admissions practices, regarding the financial circumstances of students or
           their families in admissions decisions, over the entirety of the Class Period pertaining
           to the Defendant.

       •   A fact deposition of the current director of admissions of each Defendant.

       •   A fact deposition of at least one current member of the admissions department of each
           Defendant, as a further percipient witness beyond the director of admissions.

       •   A fact deposition of each of the former directors of admissions for each Defendant
           during the Class Period pertaining to the Defendant.

       •   A fact deposition of the current president of each Defendant.

       •   A fact deposition of each of the former presidents of each Defendant during the Class
           Period pertaining to the Defendant.


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       •   The transactional data concerning the admissions decisions for each Defendant during
           the entirely of the Class Period pertaining to that Defendant.

       •   If necessary, a separate Rule 30(b)(6) deposition for each Defendant of someone
           qualified to explain the relevant transactional data regarding admissions decisions.

       •   The transaction data evidencing the financial-aid decisions by each Defendant, and the
           total amount paid by each Class member to each Defendant, for each of their admitted
           students during the Class Period pertaining to the Defendant.

       •   If necessary, a separate Rule 30(b)(6) deposition for each Defendant of someone
           qualified to explain the relevant transactional data regarding financial aid awarded.

       •   A fact deposition, if practicable for each Defendant, of a large donor regarding any
           relationship or understanding of any relationship between donation history and
           admissions decisions with respect to the donor’s children.

       •   Fact depositions of third-party universities, and non-party participants in 568 Group
           meetings (if any).

       •   Fact depositions of commercial providers of enrollment management software and/or
           enrollment management systems.

       In sum, Plaintiffs respectfully propose that the following limits are appropriate to enable

Plaintiffs to take the foregoing discovery:

       •   Approximately 185 fact depositions, or approximately 10 per Defendant, including
           former officers and presidents, and allowing for 25 fact depositions of third parties.

       •   These limits on fact depositions would not apply to trial depositions of individuals who
           were not deposed in discovery but who are identified at trial witnesses by one of the
           parties.

       •   Approximately 100 interrogatories directed at each party on, at minimum, the factual
           issue identified above.

       Universities’ Statement Regarding Discovery. The scope of discovery proposed by

Plaintiffs is overbroad, disproportionate to the needs of the case, and underscores the need for a

ruling on the Universities’ forthcoming motion to dismiss before discovery commences in earnest.

Plaintiffs request a fact discovery period of eighteen months, so they can pursue wide-ranging and

burdensome discovery from each University (and from non-party universities) for a time period



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spanning nearly two decades. Such discovery would include some 180 fact depositions and 1,600

interrogatories just of Defendants. Plaintiffs’ claim does not justify their extreme request, even if

it survives the forthcoming motion to dismiss.

        The Court’s order on the motion to dismiss will likely clarify important issues that bear

directly on the proper scope of discovery in this case, including the relevant period for discovery

on Plaintiffs’ claim in light of the four-year statute of limitations. Indeed, to the extent Plaintiffs’

claim survives the motion at all, the resulting case may be much narrower, including as to

defendants, viable legal theories, the relevant time period and other key issues. At that point, the

parties will be able to meaningfully meet-and-confer regarding the proper scope and duration of

discovery as well as appropriate discovery limits, and the Court will be better positioned to assess

the parties’ proposal and ensure that any resulting discovery is proportionate to the needs of this

case.

        As noted above, given that Plaintiffs’ proposed schedule contemplates that discovery will

commence shortly, the Universities will promptly move to stay discovery pending the motion to

dismiss. While the motion to dismiss is pending, the Universities are willing to work with

Plaintiffs to negotiate preparatory matters so that if the case moves forward the parties are prepared

to commence discovery on any claims that remain.

        (5) Any Other Matters That Any Party Wishes to Bring to the Court’s Attention

        Students’ and Families’ Statement. Plaintiffs’ initiation of this lawsuit has prompted

some Defendants, through spokespeople or otherwise, to make public statements concerning the

merits of Plaintiffs’ claims. In media outlets such as CNN, The Washington Post, and Bloomberg,

for example, Yale spokesperson Karen Peart has stated that “Yale’s financial aid policy is 100%

compliant with all applicable laws.” In an interview with the Georgetown Voice, the President of



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Georgetown, John DeGioia, was asked: “Just to be clear, you would take issue with the part of the

lawsuit that . . . says that Georgetown at least is not actually need-blind? President DeGioia

responded: “Absolutely.” In Bloomberg, Brown spokesperson Brian E. Clark was quoted as saying

that “based on a preliminary review, the complaint against Brown has no merit.” As they informed

Defense counsel regarding this Joint Status Report, Plaintiffs intend to take discovery of all the

factual and legal bases for such statements, and for any other public statements any Defendant may

make about the issues in this case and the merits of Plaintiffs’ claims.

       Universities’ Statement. As stated above, the Universities have worked to develop a

transparent, flexible process to help remove financial need as a barrier to attending college.

Relative to Plaintiffs’ statement above, the Universities intend to move for a stay of discovery in

this matter while the motion to dismiss is pending in light of the clear legal deficiencies in

Plaintiffs’ complaint and the burdensome discovery Plaintiffs have indicated they intend to

propound. Subject to a ruling on that motion, the Universities will respond to and serve discovery

requests tailored to any remaining issues following resolution of the motion to dismiss or as

otherwise ordered by the Court.


Dated: February 15, 2022                      Respectfully submitted on behalf of the parties.


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                                                 APPENDIX 1

                                  EVENT                                           DEADLINE


 Amend Complaint as of Right                                             February 15, 2022


 Parties File Joint Status Report10                                      February 15, 2022


 Rule 16 Conference11                                                    February 22, 2022


 Answer / Motion Under FRCP 12                                           April 15, 2022


 Opposition to Motion Under FRCP 12                                      June 2, 2022


 Parties to Submit Joint Letter to Court Regarding Any Areas of
 Dispute Regarding Custodians, Non-Custodial Document                    June 15, 2022
 Sources, and Search Methodologies12

                                                                         July 8, 2022
 Reply in Support of Motion Under FRCP 12

 Deadline to Begin Rolling Production of Documents in
                                                                         July 29, 2022
 Response to RFPs Served on or Before March 15, 202213


 Completion of Transactional Data in Response to RFPs Served
                                                                         September 30, 2022
 on or Before March 15, 2022


 Completion of Document Production in Response to RFPs
                                                                         December 30, 2022
 Served on or Before March 15, 2022

                                                                         March 31, 2023

10
     Supplemental Status Reports every 90 days.
11
     Further status conferences every 90 days.
12
 Copies of all Reports/Letters under this Order to be provided both to the District Judge and the assigned
Magistrate Judge.
13
     Privilege Logs must be provided within 30 days of each production of documents.
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 Completion of Document Production in Response to RFPs
 Served on or Before September 30, 2022


 Motion to Amend Pleadings                                               March 31, 2023


 Motion to Add Parties                                                   March 31, 2023


 Close of Fact Discovery14                                               August 30, 2023


 Opening Expert Reports (Class Certification and Merits) on All
                                                                         September 29, 2023
 Issue on Which a Party Has the Burden of Proof


 Opposition Expert Reports                                               November 17, 2023


 Rebuttal Expert Reports                                                 January 12, 2024


 Close of Expert Discovery                                               February 29, 2024


 Daubert Motions                                                         February 29, 2024


 Motion for Class Certification                                          February 29, 2024


 Daubert Opposition                                                      March 29, 2024


 Opposition to Motion for Class Certification                            March 29, 2024


 Daubert Replies                                                         May 3, 2024


 Reply in Support of Class Certification                                 May 17, 2024


14
 All RFPs must be served at least 75 days before the close of fact discovery. All interrogatories and RFAs
must served at least 45 days before the close of fact discovery.

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Daubert and/or Class Certification Hearing              Court’s discretion


Summary Judgment Motions                                July 1, 2024


Summary Judgment Oppositions                            August 5, 2024


Summary Judgment Replies                                September 2, 2024


Summary Judgment Hearing
                                                        Court’s discretion
Trial




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                                            APPENDIX 2

                              EVENT                                              DEADLINE


Amend Complaint as of Right                                              February 15, 2022


Parties File Joint Status Report                                         February 15, 2022


Status Conference                                                        February 22, 2022


Answer / Motion Under FRCP 12                                            April 15, 2022


Opposition to Motion Under FRCP 12                                       June 2, 2022


Reply in Support of Motion Under FRCP 12                                 July 8, 2022

Deadline to negotiate protective order, ESI protocols, and expert
protocols                                                                August 1, 2022


Ruling on Motion to Dismiss15                                            September 1, 2022

Rule 26(a)(1) Disclosures                                                September 21, 2022

                                                                         [21 days after ruling on
                                                                         motion to dismiss]

Rule 16 Conference                                                       September 21, 2022

                                                                         [21 days after ruling on
                                                                         motion to dismiss]

Deadline to answer complaint                                             September 28, 2022



15
  The Universities have included this proposed date solely for illustrative purposes, given their proposal
that subsequent dates would be set based upon the date the Court rules on the motion to dismiss. The
Universities propose that the actual dates for subsequent events in this proposed schedule would be set
based on the time increments noted next to each event.
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                                                                        [28 days after ruling on
                                                                        motion to dismiss]

                                                                        February 15, 2023
Last day to move to amend pleadings/add parties
                                                                        [one year after the deadline
                                                                        to file an amended
                                                                        complaint as of right]

Close of Fact Discovery                                                 September 1, 2023

                                                                        [12 months after start of
                                                                        discovery]
                                                                        October 1, 2023
Plaintiffs’ Motion for Class Certification including class
certification expert reports                                            [1 month after close of fact
                                                                        discovery]

Defendants’ Opposition to Motion for Class Certification and            December 1, 2023
supporting expert reports
                                                                        [~60 days following
                                                                        plaintiffs’ brief]

Last day to depose Defendants’ class certification experts (unless      Early January, 2024
otherwise agreed)
                                                                        [~30 days from submission
                                                                        of reports]
Plaintiffs’ Reply in Support of Class Certification and rebuttal        Mid January, 2024
expert reports.16
                                                                        [~45 days from defendants’
                                                                        brief]
Last day to depose Plaintiffs’ class certification experts (unless      Late February 2024
otherwise agreed)
                                                                        [~21 days from submission
                                                                        of rebuttal reports]

Daubert motions challenging the other side’s class certification        March 1, 2024
expert(s)
                                                                  [3 weeks from rebuttal
                                                                  deposition deadline]
Oppositions to Daubert motions challenging the other side’s class April 1, 2024
certification expert(s)
                                                                  [~1 month]

16
  Rebuttal experts shall be strictly limited to responding to new matters raised in the report(s) or the
deposition(s) of the Universities’ class certification expert(s).

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Replies in support of Daubert motions challenging the other   April 15, 2024
side’s class certification expert(s)
                                                              [~2 weeks]

Daubert and/or Class Certification Hearing                    Court’s discretion

                                                              No later than 30 days after
Further proceedings                                           the Court’s ruling on the
                                                              motion for class
                                                              certification, the parties will
                                                              provide to the Court a
                                                              proposed schedule for the
                                                              filing of dispositive
                                                              motions, merits expert
                                                              discovery, Daubert motions
                                                              for merits experts, motions
                                                              in limine, and other pre-trial
                                                              matters, if applicable.




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